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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
      Plaintiffs,                   )
                                    )     CIVIL ACTION NO.
      v.                            )       2:14cv601-MHT
                                    )            (WO)
JEFFERSON S. DUNN, in his           )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
      Defendants.                   )

           PHASE 2A REVISED REMEDY SCHEDULING ORDER
                 ON THE EIGHTH AMENDMENT CLAIM

    It is ORDERED that the parties’ joint motion to

continue evidentiary hearing on supplemental liability

opinion remedy (doc. no. 2626), as clarified by the

parties’ subsequent joint statement (doc. no. 2639), is

granted and the remaining deadlines and dates for the

Phase 2A remedy scheduling order for the Eighth Amendment

claim are revised as follows:
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                                            OLD DATES         NEW DATES

STAFFING
In-person hearing on whether the court      11/15/19 at       11/12/19 at
should approve parties’ proposed mental-    10:00 a.m.        10:00 a.m.
health staffing agreement (doc. no.
2606), subject to later determination as
to PLRA compliance.

Evidentiary hearing on whether parties’     3/2/20 at 10:00   3/2/20 at
proposed mental-health staffing agreement   a.m. (Stayed      10:00 a.m.,
(doc. no. 2606) complies with the PLRA.     until December    and 3/3/20
                                            13, 2019)         thru 3/5/20
                                                              at 9:00 a.m.
                                                              (Stayed until
                                                              December 13,
                                                              2019)

SEGREGATION

Parties were to develop schemes to verify   Stayed until
that defendants are now accurately and      December 13,
timely identifying SMI inmates with         2019
regard to segregation. The matter will
now be addressed in the parties’ ongoing
effort at mediation on the monitoring
issue and, should mediation fail, would
be put to the court to consider as part
of the monitoring remedy.

Evidentiary hearing on remedy for           11/12/19 at       1/24/20 at
violations found in supplemental            10:00 a.m.        10:00 a.m.
liability opinion. (Doc. nos. 2353, 2397,                     and 1/27/20
& 2398).                                                      thru 1/28/20
                                                              at 9:00
                                                              a.m.(Stayed
                                                              until
                                                              December 13,
                                                              2019)
With regard to remedy for violations        11/5/19           1/10/20
found in supplemental liability opinion,
parties to file briefs updating court as
to what the issues are and what documents
are relevant.

In-person Hearing on “segregation-like”     11/12/19 at
issue.                                      10:00 a.m.

With regard to the “segregation-like”       11/5/19
issue, parties to file briefs updating


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court as to what the issue is and what
documents are relevant.

Remedy for remaining violations found in    Under
initial liability opinion. Evidentiary      submission
hearing already held. Just need to issue
opinion.



HOSPITAL-LEVEL CARE

Evidentiary hearing on whether parties’     3/2/20 at 10:00   3/2/20 at
proposed stipulations comply with PLRA.     a.m. (Stayed      10:00 a.m.,
(Doc. no. 2383).                            until December    and 3/3/20
                                            13, 2019)         thru 3/5/20
                                                              at 9:00 a.m.
                                                              (Stayed until
                                                              December 13,
                                                              2019)
Vitek issue: Evidentiary hearing            1/24/20 at
regarding most current facts surrounding    10:00 a.m.
hospital-level care.

Vitek issue: Plaintiffs to file brief       1/10/20
detailing (1) the most recent factual
circumstances regarding hospital-level
care and (2) why Vitek applies in light
of those circumstances.

Vitek issue: Defendants to file brief       1/17/20
detailing (1) the most recent factual
circumstances regarding hospital-level
care and (2) why Vitek does not apply in
light of those circumstances.


SUICIDE PREVENTION

In-person hearing on whether the court      11/15/19 at       11/12/19 at
should approve parties’ most recently       10:00 a.m.        10:00 a.m.
proposed suicide prevention measures
(doc. no. 2606), subject to later
determination as to PLRA compliance.

Evidentiary hearing of whether parties’     3/2/20 at 10:00   3/2/20 at
most recently proposed suicide prevention   a.m. (Stayed      10:00 a.m.,
measures (doc. no. 2606) complies with      until December    and 3/3/20
the PLRA.                                   13, 2019)         thru 3/5/20
                                                              at 9:00 a.m.
                                                              (Stayed until
                                                              December 13,
                                                              2019)

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Court’s remedial opinion and judgment for   (Stayed until
immediate relief regarding suicide          December 13,
prevention (doc. nos. 2525 and 2526).       2019)
Defendants’ motion to alter, amend, or      (Stayed until
vacate (doc. no. 2564).                     December 13,
                                            2019)
Interim suicide prevention order (doc.      In effect until
no. 2569)                                   December 13,
                                            2019

DISCIPLINARY SANCTIONS

Evidentiary hearing of whether parties’     3/2/20 at 10:00   3/2/20 at
proposed stipulations comply with PLRA.     a.m. (Stayed      10:00 a.m.,
(Doc. nos. 2384 & 2382).                    until December    and 3/3/20
                                            13, 2019          thru 3/5/20
                                                              at 9:00 a.m.
                                                              (Stayed until
                                                              December 13,
                                                              2019)

MONITORING

Remedy. Evidentiary hearing already         Under
held. Just need to issue opinion.           submission as
                                            of December 13,
                                            2019 (Stayed
                                            until then.)

RESIDENTIAL TREATMENT AND STABILIZATION
UNITS

Remedy.   Evidentiary hearing already       Under
held. Just need to issue opinion.           submission


PLRA: MISCELLANEOUS STIPULATIONS AND
ORDERS (doc. no. 2608)

Evidentiary hearing on whether the          3/2/20 at 10:00   3/2/20 at
following stipulations and orders comply    a.m. (Stayed      10:00 a.m.,
with the PLRA:                              until December    and 3/3/20
  --Intake (doc. nos. 1780 & 1794)          13, 2019)         thru 3/5/20
  --Coding (doc. nos. 1779 & 1792)                            at 9:00 a.m.
  --Referral (doc. nos. 1786, 1814, &                         (Stayed until
1821)                                                         December 13,
  --Individual treatment plans (doc. nos.                     2019)
1853 & 1865)
  --Psychotherapy and confidentiality
(doc. nos. 1893 & 1899)
  --Definition of SMI (doc. no. 1720)
  --Bibb segregation issues (doc. nos.
1748 & 1751)
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  --Preplacement screening, etc. (doc.
nos. 1798, 1810, 1811, & 1815)
  --Removing SMIs from segregation (doc.
nos. 1855 & 1861)
  --Confidentiality (doc. nos. 1894 &
1900)
  --Mental-health understaffing (doc.
nos. 2283 & 2301)
The parties are to file a joint statement   2/7/20 (Stayed
of ALL the orders, stipulations, and        until December
agreements (with document numbers cited)    13, 2019)
for which the court must make findings as
to whether they comply with the PLRA.

With citations to the record in support     2/12/20 (Stayed
of their arguments, the plaintiffs are to   until December
file a prehearing brief as to why these     13, 2019)
orders, stipulations, and agreements
comply with the PLRA.

With citations to the record in support     2/18/20 (Stayed
of their arguments, the defendants are to   until December
file a response as to why these orders,     13, 2019)
stipulations, and agreements do not
comply with the PLRA.

Pretrial conference on PLRA issue.          2/21/20 at
                                            10:00 a.m.
                                            (Stayed until
                                            December 13,
                                            2019)

PARTIAL STAY (doc. no. 2608)

If party does NOT want partial stay         11/22/19
extended, that party must give such
notice.
In-person status conference on whether to   12/6/19 at
extend partial stay.                        10:00 a.m.
Partial stay expires.                       12/13/19
    DONE, this the 24th day of October, 2019.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




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